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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA

                      v.                                 No. 22-cr-15 (APM)

  EDWARD VALLEJO,
                                Defendant.


                                             ORDER

       Upon consideration of Defendant Edward Vallejo’s unopposed motion to modify his

conditions of release to travel to his voting location to vote in the Arizona primary on August 2,

2022 and the general election on November 8, 2022, the Court hereby GRANTS the motion.

It is SO ORDERED.
                                                    Amit             Digitally signed
                                                                     by Amit Mehta

______________________________
                                                    Mehta            Date: 2022.07.26
                                                                     07:16:40 -04'00'
                                                    __________________________________
Date                                                Hon. Amit P. Mehta
                                                    United States District Judge
